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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN

DIANA MEY, individually and on              Civil Action No. __________________
behalf of class of all persons and entities
similarly situated,

      Plaintiff,

v.

NORTH AMERICAN BANCARD,
LLC,

      Defendant.

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Perrin Rynders (P38221)
Attorneys for Plaintiff
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                        CLASS ACTION COMPLAINT

                              Preliminary Statement
      1.     Plaintiff Diana Mey brings this action to enforce the consumer-

privacy provisions of the Telephone Consumer Protection Act, a federal statute

enacted in 1991 in response to widespread public outrage about the proliferation of

intrusive, nuisance telemarketing practices. See Mims v. Arrow Fin. Servs., LLC,

132 S. Ct. 740, 745 (2012).
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      2.     Defendant North American Bancard, LLC violated the TCPA when it

placed a computer-dialed telemarketing call to Ms. Mey’s cellular telephone

without her prior express consent.

      3.     Because the call was transmitted using technology capable of

generating hundreds of thousands of telemarketing calls per day, and because

telemarketing campaigns generally place calls to hundreds of thousands or even

millions of potential customers en masse, Ms. Mey brings this action on behalf of a

proposed nationwide class of persons who similarly received illegal telemarketing

calls from the Defendant.

      4.     A class action is the best means of obtaining redress for the

Defendant’s widescale illegal telemarketing, and is consistent both with the private

right of action afforded by the TCPA and the fairness and efficiency goals of Rule

23 of the Federal Rules of Civil Procedure.

                                      Parties

      5.     Plaintiff Diana Mey is a resident of the State of West Virginia.

      6.     Defendant North American Bancard, LLC is a merchant services

provider and is a registered independent sales organization of Wells Fargo Bank,

N.A. It is headquartered in Michigan and does business in this district.




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                                 Jurisdiction & Venue

      7.     The Court has federal question subject matter jurisdiction over these

TCPA claims.

      8.     Venue is proper because the Defendant is a resident of this district,

and it is from this district that the solicitation telemarketing calls were made.

                                 TCPA Background

      9.     Congress enacted the TCPA twenty-three years ago to regulate the

explosive growth of the telemarketing industry. In so doing, Congress recognized

that “[u]nrestricted telemarketing . . . can be an intrusive invasion of privacy [.]”

Telephone Consumer Protection Act of 1991, Pub. L. No. 102-243, § 2(5) (1991)

(codified at 47 U.S.C. § 227).

      10.    Through the TCPA, Congress outlawed telemarketing via unsolicited

automated or pre-recorded telephone calls, or “robocalls”, and found:

      [R]esidential telephone subscribers consider automated or prerecorded
      telephone calls, regardless of the content or the initiator of the
      message, to be a nuisance and an invasion of privacy.
      ....
      Banning such automated or prerecorded telephone calls to the home,
      except when the receiving party consents to receiving the call[,] . . . is
      the only effective means of protecting telephone consumers from this
      nuisance and privacy invasion.

Id. §§ 2(10), (12); see also Mims, 132 S. Ct. at 745.

      11.    The TCPA’s most stringent restrictions pertain to computer-generated

telemarketing calls placed to cell phones.

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      12.    The TCPA categorically bans persons and entities from initiating

telephone calls using an automated telephone dialing system (or “autodialer”) to

any telephone number assigned to a cellular telephone service. See 47 C.F.R. §

64.1200(a)(1)(iii); see also 47 U.S.C. § 227(b)(1).

                                Factual Allegations

      13.    On January 21, 2014, Ms. Mey received a call on her cellular

telephone from a representative of North American Bancard.

      14.    At the time (and currently), Ms. Mey’s cellular telephone number was

listed on the national Do Not Call Registry, a national database established through

TCPA regulations that permits consumers to effectively opt-out of receiving any

telemarketing calls.

      15.    The number displayed on Ms. Mey’s caller ID was 248-283-6044.

      16.    When the call connected, there was an audible click from the receiver.

After a significant pause, the calling party identified itself as calling from North

American Bancard.

      17.    The facts in the preceding paragraph indicate the call was placed

through an automatic telephone dialing system as defined in 47 U.S.C. § 227(a)(1).

      18.    During the call, the sales representative who spoke with Ms. Mey

asked her to sign up for North American Bancard’s credit card merchant-

processing service.



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      19.    Ms. Mey asked the representative where he obtained her phone

number. The representative stated he was calling from a call center where North

American Bancard provided him a calling list to solicit new customers.

      20.    Ms. Mey is not a customer of North American Bancard, and has not

provided it with her information or cellular telephone number.

      21.    Since at least October of 2013, North American Bancard has received

complaints about illegal telemarketing calls from the same number displayed on

Ms. Mey’s caller ID, and North American Bancard has failed to take adequate

steps to end this illegal telemarketing. See http://800notes.com/Phone.aspx/1-248-

283-6044 (last visited March 10, 2014).

                             Class Action Allegations

      22.    As authorized by Rule 23 of the Federal Rules of Civil Procedure,

Plaintiff brings this action on behalf of a class of all other persons or entities

similarly situated throughout the United States.

      23.    The class of persons Plaintiff proposes to represent is tentatively

defined as all persons within the United States who North American Bancard or its

agents called on a cellular telephone line by the use of an automatic telephone

dialing system, and whom North American Bancard does not have evidence of

prior express consent of the called party.




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      24.    The class defined above is identifiable through phone records and

phone number databases.

      25.    The potential class members number at least in the thousands.

Individual joinder of these persons is impracticable.

      26.    Plaintiff is a member of the proposed class.

      27.    There are questions of law and fact common to Plaintiff and to the

proposed class, including but not limited to the following:

             a. Whether North American Bancard violated the TCPA by engaging

in advertising by unsolicited telemarketing calls;

             b. Whether North American Bancard used an automatic telephone

dialing system to call telephone numbers assigned to cellular telephone service;

             c. Whether North American Bancard placed calls to cellular

telephone numbers using an automatic telephone dialing system without obtaining

the recipients’ prior consent for the call;

             d. Whether Plaintiff and class members are entitled to statutory

damages as a result of North American Bancard’s actions.

      28.    Plaintiff’s claims are typical of the claims of class members.

      29.    Plaintiff is an adequate representative of the class because her

interests do not conflict with the interests of the class, she will fairly and




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adequately protect the interests of the class, and she is represented by counsel

skilled and experienced in class actions, including TCPA class actions.

       30.    The actions of North American Bancard are generally applicable to

the class as a whole and to Plaintiff.

       31.    Common questions of law and fact predominate over questions

affecting only individual class members, and a class action is the superior method

for fair and efficient adjudication of the controversy. The only individual question

concerns identification of class members, which will be ascertainable from records

maintained by North American Bancard and/or its agents.

       32.    The likelihood that individual members of the class will prosecute

separate actions is remote due to the time and expense necessary to prosecute an

individual case.

       33.    Plaintiff is not aware of any litigation concerning this controversy

already commenced by others who meet the criteria for class membership

described above.

                                  Legal Claims
                                   Count One:
                   Violation of the TCPA’s provisions prohibiting
               autodialer and prerecorded message calls to cell phones

       34.    Plaintiff incorporates the allegations from all previous paragraphs as if

fully set forth herein.




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       35.    North American Bancard violated the TCPA (a) by initiating a

telephone call using an automated dialing system or prerecorded voice to

Plaintiff’s telephone numbers assigned to a cellular telephone service, and (b) by

the fact that others caused the initiation of those calls on its behalf. See 47 C.F.R.

64.1200(a)(1)(iii); 47 U.S.C. § 227(b)(1).

       36.    North American Bancard’s violations were negligent and/or knowing.

                                    Count Two:
                     Injunctive relief to bar future TCPA violations

       37.    Plaintiff incorporates the allegations from all previous paragraphs as if

fully set forth herein.

       38.    The TCPA authorizes injunctive relief to prevent further violations of

the TCPA.

       39.    Plaintiff respectfully petitions this Court to order the Defendants, and

their employees, agents and independent distributors, to immediately cease

engaging in unsolicited telemarketing in violation of the TCPA.

                                    Relief Sought

       For herself and all class members, Plaintiff requests the following relief:

       1.     That North American Bancard be restrained from engaging in future

telemarketing in violation of the TCPA.




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      2.     That North American Bancard, its agents, and anyone acting on its

behalf, be immediately restrained from altering, deleting or destroying any

documents or records that could be used to identify class members.

      3.     That the Court certify the claims of Plaintiff and all other persons

similarly situated as class action claims under Rule 23 of the Federal Rules of Civil

Procedure.

      4.     That Plaintiff and all class members be awarded statutory damages of

$500 for each negligent violation of the TCPA, and $1,500 for each knowing

violation.

      5.     That Plaintiff and all class members be granted other relief as is just

and equitable under the circumstances.

      Plaintiff requests a jury trial as to all claims of the complaint so triable.

                                       Respectfully submitted,


                                       VARNUM
                                       Co-Counsel for Plaintiff



Dated: March 31, 2014                  By:      /s/ Perrin Rynders
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